*_ Case 17-40179 Doc 80 Filed 10/04/18 Entered 10/04/18 16:02:29 Desc Main Document Page 1 of 4

 

|V\onday, October lst, 2018:

To: United States Bankruptcy Court, Eastern District of Texas

RE: Payson Petro|eum 3 We|| LP case # 17-40179

Dear Jason R. Searcy,

This is to state that Reinhardt J. Lange and N|er|ee ‘Lange Were limited partners in Pay'son Petro|eum 3
We|| LP. |f we Were shown as general partners it Was a mistake. |f you have any quesitnos please contact
me, Reinhardt Lange, 136 Benedict Ave, Fairfie|d, CT 06825. Te|ephone 203-981-3375.

Sincere|y,

 

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Case 17-40179 Doc 80 Filed 10/04/18 Entered 10/04/18 16:02:29 Desc Main Document Page 2 of 4
Case 18-04074 Doc 3 Filed 09124:'18 Enterec| 09124/18 14:07'.32 Desc Main Docurnenl Page 1 of 2

stooA (Form 2500A) (12/15)

United States Bankruptcy Court

 

 

 

 

 

EASTERN District Of TEXAS
m re Payson Petroleum 3 Well, LP ) Case NO. 17'40179
Debtor ) Jointly Administered
JASONR sEARCY, CHAPTER ii TRUSTEE ) Chapter 7
FOR PAYSON PETROLEUM 1Nc_ §
Plaintiff )
) _
) Adv. Proc. No. 18 04074
Merlee L. Lange )
)
Defendant )

SUMl\/IONS IN AN ADVERSARY PROCEEDING

YOU ARE SIMONED and required to file a motion or answer to the complaint Which is attached to
this summons With the clerk of the bankruptcy court Within 30 days after the date of issuance of this

summons, except that the United States and its offices and agenci - _ ¢_. lfile a motion or answer to the
complaint Within 3 5 days

 
   
      

d S Bankruptcy Court Clerk Eastern District of Tex.
Addf€SS Ofth€ Cl€fk' 660 North Central Expressway, Suite 300B
Plano, TX 75074

972-509-1240

        
 
   
  

At the same time, you must also serve a copy o t e m n or
Name and Address of Plaintiff‘s Attorne #:

~ - plaintiffs attorn »

m§?“°

Blak amin/Bryan Prentice/Aaron G`uerre n
Snow Spence Green LLP

2929 Allen ParkWay, #2800
Houston,TX 77019 713.335.4800

c Fed. R. Banl<r. P_ 7012.

 
     

   
    
 

Ifyou make a motion, your time to answer is goveme

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAlNST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.

 

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Case 17-40179 Doc 80 Filed 10/04/18 Entered 10/04/18 16:02:29 Desc Main Document Page 3 of 4

Case 18-04074 Doc 3 Filed 09124/18 Entered 09124/13 14:07:32 Desc Main Document Page l of 2.

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United States Ban|<ruptcy Court

 

 

 

 

 

EASTERN Distri Ct Of TEXAS
ln re Payson Petroleum 3 Well, LP ) Case NO' 17*40179
Debtor ) Jointly Adrninistered
JASON 11 sEARCY, CHAPTER 11 TRUSIEE ) Chapter 7_
FOR PAYS ON PETROLEUM, INC. §
Plaintiff )
) _
_ ) Adv_ Proc_ No. 18 04074
Reinhardt J. Lange )
)
Defendant )

SUl\/HVIONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
summons, except that the United States and its offices and agencies shall file a motion 0r answer to the
complaint Within 35 days.

US Bankruptcy Court Clerk Eastern District of Texas

AddI€SS Ofth@ Clel‘kf 660 North Central Expressway, Suite 300B
Plano, TX 75074
972-509-1240

At the same time, you must also serve a copy of the motion or answer upon the plaintiffs attorney

NEIHC and AddTeSS Of Plaimiff$ ATTOI`HSYZ Blake Hamrn!Bryan Prentice/Aaron Guerrero
SnOW Spence Green LLP
2929 Allen Parl<way, #2800
Houston, TX 77019 713 .335_4800

If you make a motion, your time to answer is govemed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THIS SUl\/[MONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAI'NT.

  

')!§ /S/ Jason K. McDOrlald
'.:

 

Da.te: 09/24/2018

Case 17-40179 Doc 80 Filed 10/04/18 Entered 10/04/18 16:02:29 Desc Main Document Page 4 of 4

Case 18-040?4 Doc 3 Filed 091/24le Entered fig/24le 14:0'.":32 Desc N|ain Document Page 2 of 2

stooA (Form 2500A) (12/15)

 

CERTIFICATE OF SERVICE
I, (name), certify that service of this summons and a copy of
the complaint was made (date) by:

 

El Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
to:

l:l Personal Service: By leaving the process with the defendant or With an officer or agent
of defendant at'.

l;l Residence Service: By leaving the process With the following adult at:

Cl Certified Mail Service on an Insured Depository Institution: By sending the process by
certified mail addressed to the following officer of the defendant at:

|;l Publication: The defendant was served as follows: [Describe briefly]

El State LaW: The defendant was served pursuant to the laws of the State of , as
follows: [Describe briefly]

lf service was made by personal service, by residence service, or pursuant to state law, l further
certify that l am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

Under penalty of perjury, l declare that the foregoing is true and correct

Date Signature

 

Print Name:

 

Business Adclress:

 

 

